                                    Case 5:20-cv-00145-PSG-GJS Document 23 Filed 04/23/20 Page 1 of 11 Page ID #:111



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                                      5
                                          Attorneys for Defendants
                                      6 NOVAtime Technology, Inc. and
                                      7 Ascentis Corporation
                                      8                       UNITED STATES DISTRICT COURT
                                      9                      CENTRAL DISTRICT OF CALIFORNIA
                                                                    EASTERN DIVISION
                                     10
                                          SYMBOLOGY INNOVATIONS, LLC,                 Case No. 5:20-cv-00145 PSG (GJSx)
                                     11
                                                      Plaintiff,                      ANSWER TO COMPLAINT AND
PADMANBHAN & DAWSON, P.L.L.C.




                                     12
  45 South 7th Street, Suite 2315




                                          vs.                                         COUNTERCLAIMS
     Minneapolis, MN 55402




                                     13
                                          NOVATIME TECHNOLOGY, INC.
                                     14 AND ASCENTIS CORPORATION,
                                     15
                                                      Defendants.                     JURY TRIAL DEMANDED
                                     16
                                          NOVATIME TECHNOLOGY, INC.
                                     17 AND ASCENTIS CORPORATION,
                                     18
                                                      Counteclaim Plaintiffs,
                                     19
                                          vs.
                                     20
                                     21
                                          SYMBOLOGY INNOVATIONS, LLC,
                                     22
                                                      Counterclaim Defendant.
                                     23
                                     24
                                     25
                                     26
                                     27
                                     28

                                                                   ANSWER TO COMPLAINT AND COUNTERCLAIMS
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                                      1
                                                Defendants NOVAtime Technology, Inc. (“NOVAtime”) and Ascentis

                                      2 Corporation (“Ascentis”) (collectively, “Defendants”) hereby provide their Answer,
                                      3
                                          Affirmative Defenses, and Counterclaims to Plaintiff Symbology Innovations,
                                      4
                                      5 LLC’s (“Plaintiff”) Complaint (“Complaint”). Except as specifically admitted or
                                      6 qualified herein, Defendants deny each and every allegation, statement and/or thing
                                      7
                                          set forth in Plaintiff’s Complaint, and with respect to each of the specific paragraphs
                                      8
                                      9 set forth in Plaintiff’s Complaint further state and alleges as follows:
                                     10               ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT
                                     11
                                                1.     Defendants admit Plaintiff purports to bring an action for infringement
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                                     13 of U.S. Patent No. 8, 424,752 titled “System and Method for Presenting Information
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                                     14 About An Object On a Portable Electronic Device” (“the ‘752 Patent” or “Patent-in-
                                     15
                                          Suit”) against Defendants, and that a copy of such patent appears to be attached as
                                     16
                                     17 Exhibit A to Plaintiff’s Complaint. Defendants deny the remaining allegations of
                                     18 Paragraph 1 of the Complaint and specifically deny that there are any legal or
                                     19
                                          factual bases for Plaintiff’s Complaint.
                                     20
                                     21                                 NATURE OF THE ACTION
                                     22         2.     Defendants admit Plaintiff’s Complaint purports to be an action for
                                     23
                                          patent infringement arising under the United States Patent Acrt, including 35 U.S.C.
                                     24
                                     25 § 271, but deny that there are any legal or factual bases for Plaintiff’s Complaint.
                                     26
                                     27
                                     28
                                                                                     1
                                                                ANSWER TO COMPLAINT AND COUNTERCLAIMS
                                    Case 5:20-cv-00145-PSG-GJS Document 23 Filed 04/23/20 Page 3 of 11 Page ID #:113



                                      1
                                                                                   PARTIES

                                      2         3.     On information and belief, Defendants admit the allegations of
                                      3
                                          Paragraph 3 of the Complaint.
                                      4
                                      5         4.     Defendants admit the allegations of Paragraph 4 of the Complaint.

                                      6         5.     Defendants admit the allegations of Paragraph 5 of the Complaint.
                                      7
                                                                    JURISDICTION AND VENUE
                                      8
                                                6.     Defendants admit Plaintiff purports to bring this action under the patent
                                      9
                                     10 laws of the United States and that the Court has subject matter jurisdiction over this
                                     11
                                          matter, but deny that there are any legal or factual bases for Plaintiff’s Complaint.
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                                                7.     Defendants admit this Court has personal jurisdiction over Defendants
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                                     13
                                     14 for purposes of this action.
                                     15
                                                8.     Defendants admit they ship, distribute, use, offer for sale, sell, and/or
                                     16
                                          advertise products and services in the United States, the State of California, and this
                                     17
                                     18 District, including products accused in Plaintiff’s Complaint of infringing the ‘752
                                     19
                                          Patent. Defendants further admit they solicit and have solicited customers in the
                                     20
                                          State of California and in this District, and have paying customers that are residents
                                     21
                                     22 of the State of California and this District that use and have used Defendants’
                                     23
                                          products and services in the State of California and in this District. Defendants deny
                                     24
                                          the remaining allegations of Paragraph 8 of the Complaint.
                                     25
                                     26         9.     Defendants admit venue in this District is proper.
                                     27
                                     28
                                                                                     2
                                                                ANSWER TO COMPLAINT AND COUNTERCLAIMS
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                                      1
                                                                          PATENT-IN-SUIT

                                      2         10.    Defendants admit the Patent-in-Suit purports to teach systems and
                                      3 methods for enabling a portable electronic device to retrieve information about an
                                      4
                                          object when the object’s symbology is detected. Defendants deny the remaining
                                      5
                                      6 allegations of Paragraph 10 of the Complaint.
                                      7         11.    Defendants deny the allegations of Paragraph 11 of the Complaint.
                                      8
                                                                          ACCUSED PRODUCTS
                                      9
                                     10         12.    Defendants deny the allegations of Paragraph 12 of the Complaint.
                                     11
                                                                                 COUNT 1
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                                                                (Infringement of U.S. Patent No. 8,424,752)
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                                     13
                                     14         13.    Paragraph 13 of the Complaint does not contain any allegations to
                                     15
                                          which a response is required. Defendants incorporate by reference their responses
                                     16
                                          to Paragraphs 1-12 of the Complaint.
                                     17
                                     18         14.    Defendants admit the ‘752 Patent states that it was issued on April 23,
                                     19
                                          2013 and that it is presumed valid pursuant to 35 U.S.C. § 282. Defendants deny the
                                     20
                                          remaining allegations of Paragraph 14 of the Complaint.
                                     21
                                     22         15.    Defendants lack knowledge or information sufficient to form a belief as
                                     23
                                          to the truth of the allegations of Paragraph 15 of the Complaint, and on that basis
                                     24
                                          deny them.
                                     25
                                     26         16.    Defendants deny the allegations of Paragraph 16 of the Complaint.
                                     27
                                     28
                                                                                   3
                                                               ANSWER TO COMPLAINT AND COUNTERCLAIMS
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                                      1
                                                Direct Infringement

                                      2         17.   Defendants deny the allegations of Paragraph 17 of the Complaint.
                                      3
                                                18.   Defendants deny the allegations of Paragraph 18 of the Complaint and
                                      4
                                      5 of Exhibit B referenced therein.
                                      6         Induced Infringement
                                      7
                                                19.   Defendants deny the allegations of Paragraph 19 of the Complaint.
                                      8
                                      9         20.   Defendants deny the allegations of Paragraph 20 of the Complaint.

                                     10         21.   Defendants deny the allegations of Paragraph 21 of the Complaint.
                                     11
                                                Contributory Infringement
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                                                22.   Defendants deny the allegations of Paragraph 22 of the Complaint.
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                                     13
                                     14         23.   Defendants deny the allegations of Paragraph 23 of the Complaint.
                                     15
                                                Willful Infringement
                                     16
                                     17         24.   Defendants deny the allegations of Paragraph 24 of the Complaint.

                                     18         Plaintiff Suffered Damages
                                     19
                                                25.   Defendants deny the allegations of Paragraph 25 of the Complaint.
                                     20
                                     21                          PLAINTIFF’S REQUEST FOR RELIEF
                                     22         26.   Defendants deny Plaintiff is entitled to any of the relief requested in
                                     23
                                          Paragraph 26 of the Complaint.
                                     24
                                     25                    DEFENDANTS’ AFFIRMATIVE DEFENSES
                                     26         Pleading in the alternative, and without prejudice to the foregoing admissions,
                                     27
                                          averments, and denials, Defendants hereby assert the following defenses to the
                                     28
                                                                                   4
                                                               ANSWER TO COMPLAINT AND COUNTERCLAIMS
                                    Case 5:20-cv-00145-PSG-GJS Document 23 Filed 04/23/20 Page 6 of 11 Page ID #:116



                                      1
                                          allegations in Plaintiff’s Complaint. Defendants reserve the right to amend their

                                      2 Answer to add additional affirmative defenses and other defenses as discovery
                                      3
                                          proceeds in this case.
                                      4
                                      5                                  First Affirmative Defense

                                      6         Plaintiff’s Complaint fails to state a claim upon which relief may be granted.
                                      7
                                                                        Second Affirmative Defense
                                      8
                                      9         Defendants are not infringing, and have not infringed, either directly,

                                     10 contributorily, or by inducement, any valid and enforceable claim of the Patent-in-
                                     11
                                          Suit, either literally, or by application of the doctrine of equivalents.
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                                                                        Third Affirmative Defense
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                                     13
                                     14         The Patent-in-Suit is invalid under one or more provisions of 35 U.S.C. §§
                                     15
                                          101, 102, 103, and/or 112.
                                     16
                                     17                                 Fourth Affirmative Defense

                                     18         Plaintiff’s claims of infringement are barred, in whole or in part, based on the
                                     19
                                          doctrines of prosecution history estoppel and/or prosecution history disclaimer.
                                     20
                                     21                                  Fifth Affirmative Defense
                                     22         Plaintiff’s claims are limited or barred by the equitable doctrines of waiver,
                                     23
                                          estoppel, and/or laches.
                                     24
                                     25                                  Sixth Affirmative Defense
                                     26         Plaintiff’s claims are barred, in whole or in part, by the doctrine of unclean
                                     27
                                          hands.
                                     28
                                                                                      5
                                                                   ANSWER TO COMPLAINT AND COUNTERCLAIMS
                                    Case 5:20-cv-00145-PSG-GJS Document 23 Filed 04/23/20 Page 7 of 11 Page ID #:117



                                      1
                                                                      Seventh Affirmative Defense

                                      2         Plaintiff’s claims for relief and prayer for damages are limited by 35 U.S.C.
                                      3
                                          §§ 284, 286, 287, and/or 288.
                                      4
                                      5                               Eighth Affirmative Defense

                                      6         To the extent Plaintiff asserts that Defendants indirectly infringed (either
                                      7
                                          contributorily or by inducement), Defendants are not liable for the acts alleged to
                                      8
                                      9 have been performed before Defendant knew its actions would cause the alleged
                                     10 indirect infringement.
                                     11
                                                                          Ninth Affirmative Defense
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                                                Plaintiff is barred from asserting the Patent-in-Suit against Defendants to the
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                                     13
                                     14 extent Defendants’ use is licensed or otherwise authorized and/or to the extent
                                     15
                                          Plaintiff’s patent rights in the accused technology are exhausted.
                                     16
                                     17                                   Tenth Affirmative Defense

                                     18         To the extent Plaintiff does not have title to the Patent-in-Suit, or to the extent
                                     19
                                          that the right to sue for past infringement was not clearly conveyed to Plaintiff,
                                     20
                                     21 Plaintiff lacks standing.
                                     22                                     COUNTERCLAIMS
                                     23
                                                For   their   counterclaims      against   Counterclaim-Defendant     Symbology
                                     24
                                     25 Innovations, LLC (“Symbology”), Counterclaim-Plaintiffs NOVAtime Technology,
                                     26 Inc.    (“NOVAtime”)        and     Ascentis   Corporation    (“Ascentis”)   (collectively,
                                     27
                                          “Counterclaim-Plaintiffs”) state and allege as follows:
                                     28
                                                                                       6
                                                                 ANSWER TO COMPLAINT AND COUNTERCLAIMS
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                                      1
                                                                               The Parties

                                      2         1.     NOVAtime is a California corporation with its principal place of
                                      3
                                          business at 9680 Haven Avenue, Rancho Cucamonga, CA 91730.
                                      4
                                      5         2.     Ascentis is a Delaware corporation with its principal place of business

                                      6 at 11995 Singletree Lane, Suite 400, Eden Prairie, MN 55344.
                                      7
                                                3.     On information and belief, Symbology is a Texas company with its
                                      8
                                      9 principal place of business at 1400 Preston Road, Suite 400, Plano, TX 75093.
                                     10                                 Jurisdiction and Venue
                                     11
                                                4.     Symbology     filed   suit   against   Counterclaim-Plaintiffs   alleging
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                                     13 infringement of U.S. Patent No. 8,424,752 (“the ‘752 Patent”).
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                                     14         5.     This is an action arising under the patent laws of the United States, 35
                                     15
                                          U.S.C. § 1 et seq., and the Declaratory Judgment Act, 28 U.S.C. § 2201, et seq., for
                                     16
                                     17 a declaratory judgment that the ‘752 Patent is invalid and not infringed by
                                     18 Counterclaim-Plaintiffs.
                                     19
                                                6.     This Court has subject matter jurisdiction over these Counterclaims
                                     20
                                     21 under one or more of 28 U.S.C. §§ 1331, 1338, 2201, and/or 2202. An actual
                                     22 controversy exists because Symbology has asserted infringement by Counterclaim-
                                     23
                                          Plaintiffs of the ‘752 Patent and Counterclaim-Plaintiffs believe these allegations are
                                     24
                                     25 unfounded and without merit.
                                     26
                                     27
                                     28
                                                                                     7
                                                                ANSWER TO COMPLAINT AND COUNTERCLAIMS
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                                      1
                                                7.     There exists an actual and substantial controversy, between parties

                                      2 having adverse legal interests, of sufficient immediacy and reality to warrant the
                                      3
                                          issuance by this Court of a declaratory judgment.
                                      4
                                      5         8.     The Court has personal jurisdiction over Symbology and venue is

                                      6 proper in this District because Symbology has voluntarily appeared and consented to
                                      7
                                          this venue by filing its Complaint for patent infringement here.
                                      8
                                      9                                COUNT I
                                                      DECLARATORY JUDGMENT OF NON-INFRINGEMENT
                                     10                           OF THE ‘752 PATENT
                                     11
                                                9.     Counterclaim-Plaintiffs re-allege and incorporate by reference the
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                                     13 allegations of Paragraphs 1-8 of these Counterclaims as if fully set forth herein.
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                                     14         10.    Counterclaim-Plaintiffs are not infringing, and have not infringed,
                                     15
                                          either directly, contributorily, or by inducement, any valid and enforceable claim of
                                     16
                                     17 the ‘752 Patent, either literally, or by application of the doctrine of equivalents.
                                     18                          COUNT I
                                     19     DECLARATORY JUDGMENT OF INVALIDITY OF THE ‘752 PATENT

                                     20         11.    Counterclaim-Plaintiffs re-allege and incorporate by reference the
                                     21
                                          allegations of Paragraphs 1-10 of these Counterclaims as if fully set forth herein.
                                     22
                                     23         12.    One or more claims of the ‘752 Patent are invalid for failure to satisfy
                                     24 one or more of the conditions of patentability set forth in 35 U.S.C. §§ 101, 102,
                                     25
                                          103, and/or 112.
                                     26
                                     27
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                                                                ANSWER TO COMPLAINT AND COUNTERCLAIMS
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                                       1
                                                           NOVATIME TECHNOLOGY, INC. AND ASCENTIS
                                                              CORPORATION’S PRAYER FOR RELIEF
                                       2
                                       3
                                                 WHEREFORE, NOVAtime Technology, Inc. and Ascentis Corporation

                                       4 request the following judgment:
                                       5
                                                 A.     That the Court deny all relief to Symbology Innovations, LLC,
                                       6
                                       7 requested in its Complaint;
                                       8         B.     A declaration that NOVAtime Technology, Inc. and Ascentis
                                       9
                                           Corporation are not infringing, and have not infringed, either directly, contributorily,
                                      10
                                      11 or by inducement, any valid and enforceable claim of the ‘752 Patent, either
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                                      12 literally, or by application of the doctrine of equivalents;
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                                      13
                                                 C.     A declaration that the ‘752 Patent is invalid;
                                      14
                                      15         D.     A finding that this is an exceptional case and an award to NOVAtime

                                      16 Technology, Inc. and Ascentis Corporation of their reasonable attorneys’ fees,
                                      17
                                           expenses, and costs under 35 U.S.C. § 285; and
                                      18
                                      19         E.     An award of such other and further relief as the Court may deem just

                                      20 and proper.
                                      21
                                                                     REQUEST FOR JURY TRIAL
                                      22
                                                 NOVAtime Technology, Inc. and Ascentis Corporation hereby demand a trial
                                      23
                                      24 by jury of all issues so triable in the above action.
                                      25
                                      26
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                                                                                      9
                                                                 ANSWER TO COMPLAINT AND COUNTERCLAIMS
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                                           Dated: April 23, 2020            ERIN O. DUNGAN
                                       1                                    PADMANBHAN & DAWSON, P.L.L.C.
                                       2
                                       3
                                       4                                    By:        /s/ Erin O. Dungan
                                                                                       Erin O. Dungan
                                       5
                                       6
                                                                            Attorney for Defendants and Counterclaim
                                       7                                    Plaintiffs Novatime Technology, Inc. and
                                       8                                    Ascentis Corporation

                                       9
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                                                               ANSWER TO COMPLAINT AND COUNTERCLAIMS
